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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DISTRICT

 JOSE MARIA DECASTRO                              ) Case No. 22-cv-00204
                                                  )
               Plaintiff,                         )
                                                  )
 vs.                                              )
                                                  )
 PAM WAGNER, et al.                               )
                                                  )
            Defendants.                           )
 __________________________________               )

       PLAINTIFF’S REPLY TO DEFENDANT CHAPMAN, DOE, AND LAWRENCE

           COUNTY’S OPPOSITION TO MOTION FOR PROTECTIVE ORDER

       Plaintiff Jose Maria DeCastro (“Plaintiff”), offers the following reply to the opposition

memorandum from Defendants John Chapman, Jane Doe, and Lawrence County (“Defendants”)

(ECF No. 40) of Plaintiff’s Motion for Protective Order (ECF No. 39). Since Plaintiff outlined

the legal authority in his original motion, such information is not repeated here and Plaintiff does

not intend by its omission from discussion here, to concede to any point previously raised related

to Plaintiff’s request for protective order.

       In support of this motion, Plaintiff submits a memorandum of law, which is fully

incorporated herein.

                                               INTRODUCTION

       All Defendants have sent interrogatories and requests for admission to Plaintiff, prior to the

Rule 26(f) meeting, in violation of Fed. R. Civ. P. 26(d)(1). This violation is good cause for the

granting of a protective order to prevent further discovery requests from Defendants until after

the 26(f) meeting.
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     A party is required to carefully narrow their discovery requests to the needs of the

particular case. Here, Defendants did not do that and indicate that they will continue on this

course.

                                   POINTS AND AUTHORITIES

     A. Plaintiff’s allegations were specific. Plaintiff didn’t just allege stereotyped and

conclusory statements, but enumerated the harms to include annoyance, embarrassment, and

specified the requests, even using the word “specifically”, and then attached documentary

evidence. Fears v. Kasich (In re Ohio Execution Protocol Litigation), 845 F.3d 231, 236-237 (6th

Cir.2016).

     Further, Rule 26(c)’s good cause standard is meant to be a low hurdle, and the movant need

only make a baseline showing of good cause in order to justify a protective order that discovery

materials be used only to aid in litigation and resolution of the case at hand. AFT Michigan v.

Project Veritas, E.D.Mich. No. 17-13292, 2023 U.S. Dist. LEXIS 62421, at *6-7 (Apr. 10, 2023).

     Finally, Defendant’s opposition to a protective order against third party sharing of

disclosure materials shows their intent to share the materials without an order.

     B. Plaintiff’s request for relief is not moot. Mootness is measured by the court’s ability to

grant relief, not that a specific fact has changed. Defendant’s cite McPherson v. Mich. High Sch.

Athletic Assn., Inc., 119 F.3d 453, 458 (6th Cir. 1997) which does not apply here. In McPherson,

pending motions were moot because the dispute in the action’s claims itself had become moot.

McPherson was not about the request in the motion being moot. Even if it did apply, McPherson

at *458 speaks in detail of the “capable of repetition” exception which would clearly apply here.

     Plaintiff’s request for a protective order prohibiting premature discovery is clearly not

moot, in that the Rule 26(f) meeting has still not occurred, and the Federal Rules have not



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changed. Fed. R. Civ. P. 26(d)(1) did not prohibit Defendant’s action in the past and is unlikely to

in the future, especially considering the Defendant’s opposition to a protective order merely

prohibiting premature discovery.

     Plaintiff’s request for a protective order prohibiting the sharing of discovery information

with third parties is clearly not moot as well, as it would apply to all future discovery requests,

and Defendant’s harassing requests clearly make a good cause for misbehavior without this

order.

     C. Plaintiff did attempt to resolve the issues. Although plaintiff was unaware of the

Honorable Judge Barrett’s standing order, Plaintiff did attempt to resolve the issues in

extrajudicial means. Plaintiff apologizes, whereas Defendants have not acknowledged their

deliberate and out-of-order conduct. Defendant’s objections to the standing order itself have

become moot because Defendants did not request a meeting with the Court’s Courtroom deputy,

but rather allege in their opposition their firm stance that now comes to a request for a protective

order.

     D. Defendant’s discovery requests were meant to cause annoyance and

embarrassment. Defendants admit to either not reading the complaint or not engaging in

discovery “strictly and carefully circumscribed to the needs of the particular case.” Myers v.

Prudential Ins. Co. of Am., 581 F.Supp.2d 904, 914 (E.D.Tenn.2008). Together with sending it

prematurely, proves harassment.

                                             CONCLUSION

     It is actually appropriate where Counsel signed the discovery requests, certifying that they

followed the Federal Rules and yet violated Fed. R. Civ. P. 26(d)(1) for this Court to order

sanctions. Fed. R. Civ. P. 26(g)(3) says in part, that the court “must impose an appropriate



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sanction”. Plaintiff felt it was more appropriate to request a protection order than to request

sanctions.

DATED: May 30, 2023                                Respectfully submitted,

                                                   /s/ Jose Maria DeCastro
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                                  CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.

                                                   /s/ Jose Maria DeCastro




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